              Case 1:15-cv-02254-ELH Document 63 Filed 05/24/17 Page 1 of 1




                                               'I;
RONALD H. CLARK, et al.

        Plaintiffs                             *
                                               'I;
v.
                                                                                               ~
JOHN P. VISIOLI                                                                                I
                                                                                               ~
                                               'I;                                             ~
                                                                                               "
        Defendant
                                                                                               I.
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        'I;
                  *     *     *      *         *              *
                                                                     'I;
                                                                           .*                  I,
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                                                                                               j
                      STIPULATION OF DISMISSAL WITH PREJUDICE                                  I
       Plaintiffs and Defendant, by and through their undersigned          attorneys, hereby
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stipulate and agree that this case shall be dismissed with prejudice.                          ,
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     .:5                                       I"                                               I
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Attorneys for the Defendant
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